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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                           )
MARIA ALEJANDRA CELIMEN SAVINO             )
and JULIO CESAR MEDEIROS NEVES,            )
                                           )
Petitioners-Plaintiffs,                   )
                                          )   20-cv-10617 WGY
       v.                                 )
                                          )
THOMAS HODGSON, et al.,                    )
                                          )
       Respondents-Defendants.            )
__________________________________________)

            NOTICE OF INTENT TO TRANSFER OUT OF THE DISTRICT

       Respondents-Defendants hereby notify the Court that the following individual will be

removed from the District of Massachusetts no sooner than 48 hours from now:

                  CASTANEDA-LOMELI, Juan Manuel

       This individual will be transferred to Strafford County HOC in New Hampshire for

purposes of staging for removal.

                                                   Respectfully submitted,


                                                   ANDREW E. LELLING,
                                                   United States Attorney


                                            By:    /s/ Thomas E. Kanwit
                                                   Thomas E. Kanwit
                                                   Michael Sady
                                                   Assistant U.S. Attorneys
                                                   U.S. Attorney’s Office
                                                   John J. Moakley U.S. Courthouse
                                                   1 Courthouse Way, Suite 9200
                                                   Boston, MA 02210
                                                   (617) 748-3100
April 15, 2020                                     thomas.kanwit@usdoj.gov
                                                   michael.sady@usdoj.gov
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                                  CERTIFICATE OF SERVICE


        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                     /s/ Thomas E. Kanwit
                                                     Thomas E. Kanwit
Dated: April 15, 2020
